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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            )
                                    )
      v.                            )               Criminal No. 21-cr-00035-EGS
                                    )               (Release Order 21-mj-233)
CLAYTON RAY MULLINS,                )
                                    )
                  Defendant.        )
____________________________________)

               CONSENT MOTION TO MODIFY CONDITIONS OF RELEASE

       Defendant Clayton Ray Mullins, by and through undersigned counsel, respectfully moves

this Honorable Court to modify the Order Setting Conditions of Release (ECF no. 11) issued on

March 2, 2021 by Chief Judge Beryl A. Howell. Mr. Mullins was released on a personal

recognizance bond with the condition of home detention under courtesy supervision by the

Western District of Kentucky (WDKY) (ECF no. 11-1). The release order permitted Mr. Mullins

to leave his residence for employment but restricted his travel to the WDKY. We specifically ask

the Court to modify this provision and permit travel beyond the WDKY. That is, throughout

Kentucky and to other states for employment purposes as approved by the United States Pretrial

Services Office in the WDKY - Paducah Division.

       Mr. Mullins owns and operates Mullins Machinery, LLC, in Hickory, Kentucky which

buys, restores and sells trucks, trailers and heavy equipment. A critical part of this business is

buying and selling machinery at auctions in Kentucky and nearby states. Assistant United States

Attorney Colleen Kukowski and WDKY Pretrial Services Officer Joshua Rose kindly consent to

this motion.

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                                               Respectfully submitted,

                                               _________/s/___________
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of April, 2021, I electronically filed the foregoing

Motion and proposed Order with the Clerk of Court using the CM / ECF system, which will send

an electronic notification of such filing to all counsel of record.

                                                       _________/s/____________
                                                       Pat Munroe Woodward, Esq.
